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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


 UNITED STATES OF AMERICA                          §
                                                   §
 vs.                                               §                   2:03CR19(20)
                                                   §
 AUGUSTINE BOYD                                    §

                             MEMORANDUM OPINION & ORDER

        The above-entitled and numbered criminal action was heretofore referred to a United States

 Magistrate Judge pursuant to 28 U.S.C. § 636. The report of the Magistrate Judge which contains

 his proposed findings of fact and recommendations for the disposition of such action has been

 presented for consideration. No objections to the Report and Recommendation were filed. The court

 is of the opinion that the findings and conclusions of the Magistrate Judge are correct. Therefore,

 the court hereby adopts the report of the United States Magistrate Judge as the findings and

 conclusions of this court. Accordingly, it is hereby

        ORDERED that the defendant’s plea of true to the allegations as set forth in the

 government’s petition be ACCEPTED. Based upon the defendant’s plea of true to the allegations,

 the court finds that the defendant violated the conditions of his supervised release. It is further

        ORDERED that the defendant’s supervised release be REVOKED. It is further

        ORDERED that the defendant be committed to the custody of the Bureau of Prisons to be

 imprisoned for a term of nine (9) months, with no term of supervised release to follow such term of

 imprisonment.
         SIGNED this 7th day of February, 2008.



                                                __________________________________________
                                                T. JOHN WARD
                                                UNITED STATES DISTRICT JUDGE
